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Sheet 1 - Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                                 Judgment Page 1 of 6

                                                                                                                             CRH

                                       United States District Court
                                                            District of Maryland
             UNITED STATES OF AMERICA                                          .JUDGMENT IN A CRIMINAL                CASE
                                                                               (For Offenses Committed on or After November I, 1987)
                                     v.
                                                                               Case Number: TDC-8-13-CR-0121-001
                    OLUWASEUN SANYA
                                                                               USM Number: N/A
                                                                               Defendant's Attorney: Thomas Donnelly
                                                                                                      Byron L. Warnken
                                                                               Assistant U.S. Attorney: Sujit Raman
                                                                                                        Thomas Windom

THE DEFENDANT:
[81 pleaded guilty to count(s) I and 2 of the Indictment
o pleaded nolo contendere to count(s) __ , which was accepted by the court.
o was found guilty on count(s) __ after a plea of not guilty.
                                                                                                         Date                      Count
           Title & Section                                   Nature of Offense                    Offense Concluded              Number(s)
  18 U.S.C.g I 029(a)(2), 18                             Access Device Fraud                      July 31, 2012-                       1
        U.S.C.g3147                                                                             September 15, 2012
 18 U.S.C.gI028A(a)(l),    18                        Aggravated Identity Theft                  September 15,2012                      2
        U.S.C.g3147

    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through _6_ of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by United States v. Booker, 543 U.S. 220 (2005).

o The defendant has been found not guilty on count(s) __
[81 Counts  3 and 4 of the Indictment    are dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                                September II, 2015
                                                                               Date of Imposition of Judgment




                                                                               Theodore D. Ch ang
                                                                               United States Distn
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Sheet 2 - Judgment in a Criminal Case with Supervised   Release (Rev. 1112011)                                           Judgment Page 2 of 6

DEFENDANT:          OLUWASEUN            SANYA                                                  CASE NUMBER: TDC.8.13.CR.0121.001



                                                                  IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 81      months and I day; 57 months as to Count I of the Indictment, consisting of 41
months and an additional 16 months imposed under 18 U.S.C. 3147 to run consecutive to the 41 months; 24
months and I day as to Count 2 of the Indictment, consisting of 24 months and an additional one day imposed
under 18 U.S.C. 3147 to run consecutive to the 24 months, all to run consecutive to the term of imprisonment
imposed under Count I. The sentences imposed as to Counts I and 2 of the Indictment are to run consecutively
to the sentence imposed in Case No. TDC 12.0379 in the United States District Court for the District of
Maryland.

D The court makes the following recommendations to the Bureau of Prisons:

D The defendant is remanded to the custody of the United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

     D at __      a.m.lp.m. on __    '
     D as notified by the United States Marshal.

D The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     D before 2 p.m. on __                   '

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                          RETURN

I have executed this judgment as follows:

     Defendant delivered on                       to             at __      ~, with a certified copy of this judgment.




                                                                             UNITED STATES MARSHAL


                                                                             By:                                                     _
                                                                             DEPUTY U.S. MARSHAL
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Sheet 3 ~Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                             Judgment Page 3 of 6
DEFENDANT: OLUWASEUN SANYA                                                                     CASE NUMBER: TDC-8-13-CR-0121-001

                                                        SUPERVISED               RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of                           3 years as to
Count I of the Indictment; I year as to Count 2 of the Indictment to run concurrently.

The defendant         shall comply with all of the following                  conditions:

    The defendant shall report to the probation office in the district to which the defendant                   is released   within 72
hours of release from the custody of the Bureau of Prisons.

                             A.      STATUTORY CONDITIONS OF SUPERVISED RELEASE
I) The defendant shall not commit any federal, state or local crime.
2) In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 USc. ~921.
3) The defendant shall not illegally use or possess a controlled substance.
4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
   drug tests thereafter, as directed by the probation officer.
D The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
   of future substance abuse. (Check, if applicable.)
5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, if
   applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau of Prisons, or as
   directed by the probation officer.
6) If this judgment imposes any criminal monetary penalty, including special assessment, fine, or restitution, it shall be a
   condition of supervised release that the defendant pay any such monetary penalty that remains unpaid at the
   commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
   Criminal Monetary Penalties sheet of this judgment. The defendant shall notifY the court of any material change in
   the defendant's economic circumstances that might affect the defendant's ability to pay restitution, fines, or special
   assessments.

                                B.      STANDARD CONDITIONS                                 OF SUPERVISION
I)    The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependents and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    The defendant shall notifYthe probation officer ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12)   The defendant shall notifYthe probation officer within 72 hours of being charged with any offense, including a traffic offense;
13)   The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
      permission of the court;
14) As directed by the probation officer, the defendant shall notifYthird parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's     compliance with such notification requirement.
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Sheet 4. Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                            Judgment Page 4 of 6

DEFENDANT: OLUWASEUN SANYA                                                    CASE NUMBER: TDC-8-13-CR-OI21-001


                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS

SUBSTANCE ABUSE
   [8J The defendant shall satisfactorily participate in a treatment program approved by the probation officer
       relating to substance and/or alcohol abuse, which may include evaluation, counseling, and testing as
       deemed necessary by the probation officer.


ACCESS TO FINANCIAL INFORMATION
   [8J The defendant shall provide the probation officer with access to any requested financial information.


CREDIT RESTRICTION
   [8J The defendant shall not incur new credit charges or open additional lines of credit without approval of
       the probation officer.


SPECIAL ASSESSMENT
   [8J The defendant shall pay a special assessment fee in the amount of $100.00 each count, for a total of
       $200.00, as directed by the probation officer.


RESTITUTION
   [8J The defendant shall pay restitution of$11,679.11 (jointly and severally) to the victims in this case. The
       defendant shall make restitution payments from any wages he may earn in prison in accordance with the
       Bureau of Prisons Financial Responsibility Program. Any portion of the restitution that is not paid in
       full at the time of the defendant's release from imprisonment shall become a condition of supervision.
       While on supervision, the defendant shall pay restitution in the monthly installments of $100.00 as
       directed by the probation officer.
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Sheet 5. Pan A - Judgment in a Criminal Case with Supervised Release (Rev. IlnOI)                                                Judgment Page 5 of 6
DEFENDANT:          OLUWASEUN           SANYA                                                       CASE NUMBER: TDC-8-13-CR-0121-001


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                          Fine                                Restitution
 TOTALS              $ 200.00                                            $ Waived                               $ 11,679.11
 o       CVB Processing Fee $25.00



 o       The determination of restitution is deferred until Click here   10   enter a dale .. An Amended Judgment in a Criminal Case (AO 245C)
                                                                                              will be entered after such determination.

 o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. ~ 3664(i), all non federal
      victims must be paid before the United States is paid.
         Name of Payee                   Total Loss'                   Restitution Ordered               Priority or Percentage
 Clerk, U.S. District Court                        11,679.1 I                        11,679.11
 Attn: Finance Department
 101 West Lombard Street
 Baltimore, MD 2120 I
 (Payable to victims as indicated in
 Section IX)




 TOTALS                                $                  11,679.1 I             $                  11,679.11


 o      Restitution amount ordered pursuant to plea agreement
                                                                          ----------
 o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. ~ 36 I 2(1). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.c. ~ 3612(g).

 o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        o    the interest requirement is waived for the         0      fine      o    restitution

      o the interest requirement for the 0 fine 0 restitution is modified as follows:
 • Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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Sheet 6 . Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                                    Judgment Page 6 of 6
DEFENDANT:          OLUWASEUN               SANYA                                                CASE NUMBER: TDC-8-13-CR-012J-00I


                                                     SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      0 Special Assessment in the amount of $200.00 is due immediately

B      0 $             immediately, balance due (in accordance with C, D, or E); or

C      0 Not later than              ; or

D      0 Installments to commence                   day(s) afler the date of this judgment.

E      0 In              (e.g. equal weekly, monthly, quarterly) installments of $                over a period of          year(s) to commence
           when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement            of supervision, the balance shall be paid:

       o   in equal monthly installments during the term of supervision; or

       o   on a nominal payment schedule of $                  per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's                 financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

o     Joint and Several with the restitution         orders imposed on the following other defendants:

       Shanese Crawford [PJM 8-13-0491-001]
       Latasha Bufford [PJM 8-13-0401-001]
       Chiazokam Okoye [PJM 8-13-0235-001]

o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant     shall forfeit the defendant's      interest in the following property   to the United States:

       A sum of money equal to the value of the proceeds to the charged offense (Please see attached Forfeiture Order)
